      Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 1 of 15 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MUVEDDET HARRIS,                                   )
                                                   )
                                Plaintiff,         )
                                                   )
                vs.                                )    CASE NO.:
                                                   )    JURY DEMAND
NORTHWESTERN UNIVERSITY,                           )
                                                   )
                                Defendant.         )

                                      COMPLAINT AT LAW

        NOW COMES the Plaintiff, MUVEDDET HARRIS, by and through her attorneys,

DeSANTO MORGAN & TAYLOR, who for her Complaint against the Defendant,

NORTHWESTERN UNIVERSITY, alleges as follows:

                                      NATURE OF ACTION

        1.      This lawsuit arises under Title VII of the Civil Rights Act of 1964 for

discrimination on the basis of national origin, religion, and retaliation.

                                             JURISDICTION

        2.      Federal jurisdiction arises under the provisions of the Civil Rights Act of 1964

Sec. 703 (a)(1) and federal question jurisdiction under 28 U.S.C. § 1331.

                                                VENUE

        3.      Pursuant to 29 U.S.C. § 1391, venue lies in the Northern District of Illinois in that

Plaintiff is a resident in this District, the Defendant is engaged in a business in this District, and a

substantial part of the alleged events or omissions giving rise to the claims occurred in this

District.




                                                   1
      Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 2 of 15 PageID #:2




                                             PARTIES

        4.      At all relevant times, the Plaintiff, MUVEDDET HARRIS, was a resident of

Skokie, County of Cook, State of Illinois.

        5.      At all relevant times, the Defendant, NORTHWESTERN UNIVERSITY, is an

educational institution with its primary place of business located in Evanston, County of Cook,

State of Illinois.

        6.      On or about July of 2000, the Plaintiff, MUVEDDET HARRIS, became an

employee of the Defendant, NORTHWESTERN UNIVERSITY. The Plaintiff held several

positions during her employment with the Defendant.

        7.      During her employment with the Defendant, NORTHWESTERN UNIVERSITY,

the Plaintiff, MUVEDDET HARRIS, was subjected to harassment and disciplinary action based

on her national origin and religion.

        8.      At all relevant times, the Defendant, NORTHWESTERN UNIVERSITY, was

aware that the Plaintiff’s, MUVEDDET HARRIS, national origin is that of Turkish, and she is a

follower of the Muslim religion.

        9.      During her employment, the Plaintiff, MUVEDDET HARRIS, was subjected to

inappropriate verbal comments regarding her religion and national origin.

        10.     For example, on or about September of 2013, the Plaintiff’s, MUVEDDET

HARRIS, former supervisor asked her, “What are you?”

        11.     In September of 2013, the Plaintiff, MUVEDDET HARRIS, began working as an

Administrative Coordinator II at the Searle Center for Advanced Learning and Teaching within

the Defendant, NORTHWESTERN UNIVERSITY. At that time, the Plaintiff’s immediate

supervisor was Susana Calkins (hereinafter “Calkins”) and her supervisor’s supervisor was Greg



                                                2
      Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 3 of 15 PageID #:3




Light (hereinafter “Light”).

       12.     On or about June of 2015, Light retired from his position as Director of the Searle

Center. At that time, Calkins and Marina Micari (hereinafter “Micari”) were named co-interim

Directors.

       13.     Shortly after Calkins and Micari were named co-interim Directors, the Plaintiff,

MUVEDDET HARRIS, began experiencing harassment and disciplinary action.

       14.     For example, on or about March 3, 2016, the Plaintiff, MUVEDDET HARRIS,

was suspended for three weeks following allegations that she made threatening remarks.

       15.     As another example, on or about May 4, 2016, the Plaintiff, MUVEDDET

HARRIS, received a negative evaluation from Calkins.

       16.     On or about August 2016, Bennett Goldberg (hereinafter “Goldberg”) was named

Director of the Searle Center.

       17.     After Goldberg was named Director, the Plaintiff, MUVEDDET HARRIS,

continued to face harassment and disciplinary actions.

       18.     In addition, Calkins and Goldberg would continue to make discriminatory

comments.

       19.     For example, the Plaintiff, MUVEDDET HARRIS, alleges that Goldberg said, “I

really don’t want to work with those Muslims. They are combative.”

       20.     Furthermore, after an attack on a synagogue, Calkins is alleged to have said, “I

wonder if its Al-Qaeda, and I wonder if Muveddet Harris was part of it.”

       21.     On or about June of 2018, the Plaintiff, MUVEDDET HARRIS, filed a report

with the Office of Equity alleging discrimination and harassment by Calkins, Goldberg, Denise

Drane, and Nancy Ruggeri. This complaint was dismissed.



                                                3
         Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 4 of 15 PageID #:4




          22.   On or about June 13, 2019, Calkins gave the Plaintiff, MUVEDDET HARRIS, a

performance review rating of “corrective action” despite the Plaintiff’s performance being

comparable to her non-Muslim and non-Turkish peers.

          23.   On or about June 25, 2019, the Plaintiff, MUVEDDET HARRIS, filed a charge of

discrimination with the Equal Employment Opportunity Commission (hereinafter “EEOC”). A

true and accurate copy of the Charge is attached hereto as Exhibit A.

          24.   On or about July 16, 2019, the Plaintiff, MUVEDDET HARRIS, sent a memo to

Calkins asking her to reconsider her rating for her performance review.

          25.   On or about July 26, 2019, Calkins sent the Plaintiff, MUVEDDET HARRIS, an

email advising that she would not reconsider the rating for her performance review.

          26.   On or about October 16, 2019, Calkins sent the Plaintiff, MUVEDDET HARRIS,

a memo advising that the Plaintiff’s work performance had not improved since her performance

review despite the Plaintiff’s performance being comparable to her non-Muslim and non-Turkish

peers.

          25.   On or about December 10, 2019, the Defendant, NORTHWESTERN

UNIVERSITY, terminated the Plaintiff’s, MUVEDDET HARRIS, employment.

          26.   The Plaintiff’s EEOC Charge was amended to include her discriminatory

termination. A true and accurate copy of the Amended Charge is attached hereto as Exhibit B.

          26.   On or about August 27, 2020, the EEOC issued a Right to Sue letter to the

Plaintiff, MUVEDDET HARRIS. A true and accurate copy of the Right to Sue letter is attached

hereto as Exhibit C.

                   COUNT I - Violation of Title VII of the Civil Rights Act of 1964

          27.   The Plaintiff, MUVEDDET HARRIS, incorporates and adopts paragraphs 1



                                                4
      Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 5 of 15 PageID #:5




through 26 as if set forth herein fully as paragraph 27.

       28.     At all relevant times, there was in effect in the State of Illinois Title VII of the

Civil Rights Act of 1964 (hereinafter “Title VII”).

       29.     During the course of employment, the Plaintiff, MUVEDDET HARRIS, was an

“employee” as defined by Title VII.

       30.     During the course of employment, the Defendant, NORTHWESTERN

UNIVERSITY, was an “employer” as that term is defined by the Act. In particular, the

Defendant employed fifteen or more employees for each working day in each of twenty or more

calendar weeks, including the Plaintiff, MUVEDDET HARRIS.

       31.     At all relevant times, the Plaintiff’s, MUVEDDET HARRIS, national origin is

Turkish, and she is a follower of the Muslim religion.

       32.     The Defendant, NORTHWESTERN UNIVERSITY, was aware of the Plaintiff’s,

MUVEDDET HARRIS, national origin and religion.

       33.     While the Plaintiff, MUVEDDET HARRIS, was employed by the Defendant,

NORTHWESTERN UNIVERSITY, she satisfactorily performed her duties with the Defendant.

       34.     Pursuant to Title VII, it is unlawful for an employer to “to fail or refuse to hire or

to discharge any individual, or otherwise to discriminate against any individual with respect to

his compensation, terms, conditions, or privileges of employment,” because of the employee’s

national origin or religion.

       35.     In violation of Title VII, the Defendant, NORTHWESTERN UNIVERSITY,

discriminated against the Plaintiff, MUVEDDET HARRIS, with respect to her national origin

and religion by suspending her from work, issuing negative performance reviews, terminating

her employment, and other bases as herein alleged.



                                                  5
      Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 6 of 15 PageID #:6




       36.     At all times relevant, the Plaintiff’s, non-Muslim and non-Turkish peers were not

subjected to negative performance reviews, suspension, disciplinary action, and termination, nor

were they subjected to derogatory comments during employment.

       37.      As a result of the discriminatory conduct of the Defendant, NORTHWESTERN

UNIVERSITY, the Plaintiff, MUVEDDET HARRIS, has sustained the following and ongoing

damages:

               a.      Loss of wages, benefits, and income and ongoing;

               b.      Humiliation, embarrassment, and emotional distress
                       damages and ongoing;

               c.      Attorneys’ fees and costs for the prosecution of this action
                       and ongoing;

               d.      Prejudgment interest; and

               e.      other losses to be determined.

       WHEREFORE, the Plaintiff, MUVEDDET HARRIS, prays for judgment against the

Defendant, NORTHWESTERN UNIVERSITY, plus her costs of suit and attorneys’ fees.

                        COUNT II – Retaliatory Discharge (in the alternative)

       38.     The Plaintiff, MUVEDDET HARRIS, incorporates and adopts paragraphs 1

through 37 as if set forth herein fully as paragraph 38.

       39.     On or about June 25, 2019, the Plaintiff, MUVEDDET HARRIS, filed a charge of

discrimination with the EEOC.

       40.     Following the Plaintiff, MUVEDDET HARRIS, filing a charge with the EEOC,

the Defendant, NORTHWESTERN UNIVERSITY, terminated the Plaintiff’s employment.




                                                 6
      Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 7 of 15 PageID #:7




        41.     The termination of the Plaintiff, MUVEDDET HARRIS, by the Defendant,

NORTHWESTERN UNIVERSITY, was motivated by the actions of the Plaintiff when she filed

a charge of discrimination with the EEOC.

        42.     The Defendant, NORTHWESTERN UNIVERSITY, discharged the Plaintiff,

MUVEDDET HARRIS, in retaliation for her activities and the discharge was in contravention of

a clearly mandated public policy and in violation of the protected activity of making a complaint

regarding discrimination.

        43.     At the time of her discharge, it was the intention of the Plaintiff, MUVEDDET

HARRIS, to remain employed by the Defendant, NORTHWESTERN UNIVERSITY,

indefinitely.

        44.     As a direct and proximate result of the conduct of the Defendant,

NORTHWESTERN UNIVERSITY, as described above, the Plaintiff, MUVEDDET HARRIS,

suffered damages as herein alleged:

                a.     The Plaintiff was terminated from her position;

                b.     The Plaintiff has suffered a loss of earnings and benefits;

                c.     The Plaintiff has suffered a loss of longevity accumulation
                       in procuring alternative employment; and

                d.     The Plaintiff has procured an attorney in order to prepare,
                       investigate, and prosecute this action at great cost and
                       expense to the Plaintiff.

        WHEREFORE, the Plaintiff, MUVEDDET HARRIS, prays for judgment against the

Defendant, NORTHWESTERN UNIVERSITY, plus her costs of suit and attorneys’ fees.

                                         JURY DEMAND

        A Jury Trial is requested on all claims triable by a jury.




                                                  7
     Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 8 of 15 PageID #:8




                                                   Respectfully Submitted,




                                                   Diana C. Taylor
                                                   Attorney for the Plaintiff

DIANA C. TAYLOR (4994471)
DeSanto Morgan & Taylor (357260)
712 Florsheim Drive
Libertyville, Illinois 60048
(847) 816-8100
dtaylor@dmtlawgroup.com




                                         8
Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 9 of 15 PageID #:9




                                                                        Exhibit A
Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 10 of 15 PageID #:10




                                                                         Exhibit B
                Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 11 of 15 PageID #:11

 EEOCFoim 161 (11/16)                    U.S. Equal employment Opportunity Commission

                                                  Dismissal and Notice of Rights
To:       Muveddet D. Harris                                                           From:    Chicago District Office
          do Diana C. Taylor, Esq.                                                              230 S. Dearborn
          DESANTO, MORGAN & TAYLOR                                                              Suite 1866
          712 Florsheim Dr                                                                      Chicago, IL 60604
          Libertyville, IL 60048



      □                     On behalf of person(s) aggrieved v\f]ose Identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
 EEOC Charge No.                                EEOC Representative                                                    Telephone No.
 AMENDED                                        Zachary M. Florent,
 440-2019-05674                                 Investigator                                                           (312) 872-9742
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

      I     I    The facts alleged In the charge fail to state a claim under any of the statutes enforced by the EEOC.
      □          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
      □          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
      □          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged discrimination
                 to file your charge
                 The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
      I     I    The EEOC has adopted the findings of the state or local feir employment practices agency that investigated this charge.

      □          Other (briefly state)

                                                          - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge vwll be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 vears)
before you file suit may not be collectible.

                                                          _          On behalf of the Ccmmi^ion
                                                   y^uuanne^ Bouimcm/eh/                                              8/27/2020
Enclosures(s)
                                                                   Julianne Bowman,                                           (Date Mailed)
                                                                     District Director
            NORTHWESTERN UNIVERSITY
            do Sean Herring, Esq.
            Jackson Lewis, PC
            150 N. Michigan Ave., Suite 2500
            Chicago, IL 60601




                                                                                                                  Exhibit C
Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 12 of 15 PageID #:12
       Filing Suit in Court of Competent Jurisdiction
Private Suit Rights

The issuance ofthis Notice ofRight to Sue or Dismissal and Notice ofRights ends the EEOC process with
respect to your Charge. You may file a lawsuit against the Respondent within 90 days from the date you
receive this Notice. Therefore, you should keep a record of the date. Once the 90 day period is over, your
right to sue is lost. If you intend to consult an attorney, you should do so as soon as possible. Furthermore,in
order to avoid any question that you did not act in a timely manner, if you intend to sue on your own behalf;
your suit should be filed well in advance of the expiration of the 90 day period.

You may file your lawsuit in a court of competent jurisdiction. Filing this Notice is not sufficient. A court
complaint must contain a short Statement of the facts of your case which shows that you are entitled to relief.
Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some cases can
be brou^t where relevant employment records are kept, where the employment would have been, or where
the Respondent has its main office.

You may contact the EEOC if you have any questions about your rights, including advice on which court can
hear your case, or if you need to inspect and copy infomiation contained in the case file.

If the first three characters of your EEOC charge number are"21b"and your CH.ARGE W.4S
i.westig.ated by the Illinois Department of Human Rights(IDHR),request for reviewing and
COPYING DOCUMENTS FROM YOUR FILE MUST BE DIRECTED TOIDHR.


A lawsuit against a private employer is generally filed in the U.S. District Court.

A lawsuit under Title VII of the Civil Rights Act of 1964, as amended, against a State agency or a political
subdivision of the State is also generally filed in the U.S. District Court.

However, a lawsuit under the Age Discrimination in Employment of the American with Disabilities Act or,
probably, the Equal Pay Act against a State instrumentality(an agency directly funded and controlled by the
State) can only be filed in a State court.

A lawsuit under the Age Discrimination in Employment Act or the American with Disabilities Act or the
Equal Pay Act against a political subdivision of a State, such as municipalities and counties, may be filed in
the U.S. District Court.


For a list of the U.S. District Courts, please see the reverse side.

ATTORNEY REPRESENTATION


if you cannot afford an attomey, or have been unable to obtain an attorney to represent you, the court having
jurisdiction in your case may assist you in obtaining a lawyer. If you plan to ask the court to help you obtain
a lawyer, you must make this request ofthe court in the form and manner it requires. Your request to the
court should be made well in advance of the 90 day period mentioned above. A request for representation
does not relieve you of the obligation to file a lawsuit within the 90-day period.

Destruction of File


If you file suit, you or your attomey should forward a copy of your court complaint to this office. Your file
will then be preserved. Unless you have notified us that you have filed suit, your Charge file could be
destroyed as early as six months after the date of the Notice of Right to Sue.

If you file SUIT, you or YOUR attorney should notify this office WHEN THE LAWSUIT IS RESOLVED.
Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 13 of 15 PageID #:13
                             Information on where to file suit
         You have been notified of your right to sue in Federal District Court. Suit is ordinarily filed in
         the District having jurisdiction ofthe county in which the employer, against whom you filed a
         Charge ofemployment discrimination, is located. The telephone number listed for each
         District is that ofthe Clerk ofthe Court.

         U.S. DISTRICT COURT                               U.S. DISTRICT COURT
        Northern District ofIJUnois                        Central District ofIllinois
         Eastern Division at Chicago                       Urbnna Division
        219 South Dearborn Street                          201 South Vine
        Chicago,IL 60604                                   Urbana,IL 61801
        312-435-5670                                       217-373-5830
                                 Counties .                                       Counties
        Cook                            Kendall            Champaign                   Kankakee
        DuPage                          Lake               Coles                         Macon
        Qnindy                          LaSalle            Douglas                       Moultrie
        Kane                            Will               Edgar                         Pialt
                                                           Ford                          Vermillion
                                                           Iroquois
        U.S. DISTRICT COURT                                Peoria Division
        Northern District of Illinois
        Western Division at Rockford                       100 N.E. Monroe Street
        211 South Court Street                             135 Federal Building
        Federal Building                                   Peoria, IL 61602
        Rockford, IL 61101                                 309-671-7117
        815-987-4355


                              Counties                                            Counties
        Boone                          McHenry             Bureau                        McLean
        Carroll                        Ogle                Fulton                        Peoria
        DeKalb                         Stephenson          Hancock                       Putnam
        Jo Daviess                     Whiteside           Knox                          Stark
        Lee                            Winnebago           Livingston                    Tazewell
                                                           Marshall                      Wood ford
                                                           McDonough
        U.S. DISTRICT COURT                                Rock Island Division
        Southern District of Illinois                     211 19"* Street
        750 Missouri Avenue                               RockIsland,IL 61201
        East St. Louis, IL 62201                          309-793-5778
       618-482-0671
                                   and
       301 Main Street
        Benton,IL 62812
       618-438-0671
                              Counties                                            Counties
       Alexander                       Johnson            Henderson                      Rock Island
       Bond                            Lawrence           Henry                          Warren
       Caihoun                         Madison            Mercer ■
       Clark                           Marion             Snrlnsfield Division
       Clinton                         Monroe             600 East Moru-oe Street
       Crawford                        Pern/              Springfield, IL 62701
       CiimhirlanH                     Pnpp
                                                          217-492-4020
       Edwards                         Pulaski
       Effmgham                        Randolph                                   Counties
       Fayette                         Richland           Adams                          Logan
       Franklin                        St. Clair          Brown                          Macoupin
       Gaiiatin                        Saline             Cass                           Mason
       Hamilton                        Union              Christian                      Menard
       Hardin                          Wabash      •      DeWitt                         Montgomery
       Jackson                         Washington         Green                          Morgan
       Jasper                          Wayne              Pike                           Schuyler
       Jefferson                       White              Shelby
       Jersey                      j   Williamson
   Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 14 of 15 PageID #:14


               U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                              Chicago District Office
                                                                                             JCK Federal Building
                                                                                       230 S. Dearborn, Suite 1866
                                                                                         Legal & ADR,Suite 2920
                                                                                               Chicago, IL 60604
                                                                                              PH; (312)872-9777
                                                                                            TTY: 1-800-669-6820
                                                              FILE REVIEWS & ENFORCEMENT FAX:(312)588-1260




                       NOTICE OF DISCLOSURE RIGHTS

Parties to an EEOC charge are entitled to review and obtain copies of documents contained in their
investigative file. Requests must be made in writing to Sylvia Bustos and either mailed to the address
above, faxed to(312)588-1260 or sent via email to svlvia.bustos(5),eeoc.gov (please chose only one
method, no duplicate requests). Be sure to include vour name,address, phone number and EEOC
charge number with your request.


If you are the Charging Party and a Notice of Right to Sue has been issued, you may be granted access to
your file:

    > Before filing a lawsuit, but within 90 days of your receipt ofthe Right to Sue, or
    > After your lawsuit has been filed. If more than 90 days have elapsed since your receipt of the
      Right to Sue, include with your request a copy ofthe entire court complaint(with court stamped
      docket number)-OR- enough pages to determine whether it was filed based on the EEOC charge.

If you are the Respondent you may be granted access to the file only after a lawsuit has been filed.
Include with your request a copy ofthe entire court complaint that includes an official court stamped
docket number.


Pursuant to federal statutes, certain documents, such as those which reflect the agency's deliberative
process, WILL NOT BE DISCLOSED TO EITHER PARTY.

You must sign an Agreement of Nondisclosure before you are granted access to the file, which will be
sent to you after receipt of your written request(Statues enforced by the EEOC prohibit the agency from
making investigative information public).

The process for access to the file will begin no later than ten(10)days following receipt of your request.

When the file becomes available for review, you will be contacted. You may review the file in our
offices and/or request that a copy ofthe file be sent to you. Files may not be removed from the office by
a requester.

Your file will be copied by Aloha Print Group. You are responsible for copying costs and must sign an
agreement to pay these costs before the file will be sent to the copy service. Therefore, it is
recommended that vou first review vour file to determine what documents, if any, you want copied.
EEOC will not review your file or provide a count of the pages contained in it. If you choose not to
review your file, it will be sent in its entirety to the copy service, and vou will be responsible for the
cost. Payment must be made directly to Aloha Print Group, which charges 15 cents per page, plus a fee
for shipping via FedEx.


(Revised 11/19/2019)
Case: 1:20-cv-06930 Document #: 1 Filed: 11/23/20 Page 15 of 15 PageID #:15

                    U.S.EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                  Chicago District Office
                                                                                          JCK Federal Building
                                                                                               230 S. Deaibom
                                                            Suite 1866(Enforcement, State and Local & Hearings)
                                                                                       Suite 2920(Legal &ADR)
                                                                                               Chicago,IL 60604
                                                                       Intake Information Group: (800)669-4000
                                                                  Intake Information Group TTY: (800)669-6820
                                                                             Chicago Direct Dial: (312)872-9777
                                                                           Administration Fax: (312)588-1255
                                                               Enforcement/File Disclosure Fax: (312)588-1260
                                                                            Federal Sector Fax: (312)588-1265
                                                                                   Intake FAX; (312)588-1286
                                                                                     Legal Fax; (312)588-1494
                                                                                Mediation Fax: (312)588-1498
                                                                                      Wdjsite: www.eeoc.gov



   Dear Sir/Madam:


   Recently, during the CO.VID-19 pandemic, the Investigator assigned to your charge
   discussed your allegations with you over the telephone and indicated that a
   recommendation was being made to management concerning your charge. You were
   invited to provide any additional information you might have concerning your allegations.

   This letter is to advise you that management has considered the Investigator's
   recommendation, along with any additional information you may have submitted. Your
   charge is now being dismissed,.and you are being issued a Notice of Right to Sue. The
   enclosed document entitled "Dismissal and Notice of Rights" explains that, should you
   wish to pursue the matter in court,you mustfile suit within 90 days ofyour receipt ofthe
   enclosed Notice ofRight to Sue.

   Your charge has been dismissed, because it is our judgment that EEOC cannot prove
   your allegations given the evidence provided through the course of this investigation.
   The evidence obtained to date, in addition to our limited resources, does not justify
   further investigation.

   An information sheet is enclosed which describes how you can obtain a copy of your
   EEOC file and how you can file a lawsuit, should you wish to pursue your claim in court.
   If you have questions or concerns, you can reach your EEOC Representative listed on
   your Notice of Right to Sue at the number listed.



   Enclosures
